 Fill in this information to identify the case:

 Debtor name         ORWELL TRUMBULL PIPELINE CO LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)         17-17135
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 29, 2017                       X /s/ Richard M. Osborne
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard M. Osborne
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

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 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OHIO

 Case number (if known)               17-17135
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       11,537,194.72

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           687,070.13

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       12,224,264.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       10,669,464.77


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        3,340,486.44

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           200,406.58


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,210,357.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)         17-17135
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Erie Bank                                               Checking                        0937                                         $19.54




           3.2.     Fifth Third Bank                                        Checking                        6925                                       $136.45




           3.3.     Fifth Third Bank                                        Checking                        6917                                         $57.50



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $213.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         ORWELL TRUMBULL PIPELINE CO LLC                                                    Case number (If known) 17-17135
                Name


        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            5,193,459.91     -                        4,506,603.27 =....                      $686,856.64
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                $686,856.64
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and              Net book value of         Valuation method used    Current value of
           property                                       extent of               debtor's interest         for current value        debtor's interest
           Include street address or other                debtor's interest       (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         ORWELL TRUMBULL PIPELINE CO LLC                                              Case number (If known) 17-17135
                Name

            apartment or office building, if
            available.
            55.1.
                     See Attached                                                 $11,537,194.72       N/A                      $11,537,194.72




 56.        Total of Part 9.                                                                                                   $11,537,194.72
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $213.49

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $686,856.64

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $11,537,194.72

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $687,070.13           + 91b.           $11,537,194.72


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,224,264.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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 Fill in this information to identify the case:

 Debtor name          ORWELL TRUMBULL PIPELINE CO LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)              17-17135
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        First National Bank of
 2.1                                                  Describe debtor's property that is subject to a lien             $10,669,464.77                        $0.00
        Pennsylvania
        Creditor's Name                               Combination of multi-county judgment liens
        One FNB Blvd.
        Hermitage, PA 16148
        Creditor's mailing address                    Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2017                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        5314
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $10,669,464.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  77

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         ORWELL TRUMBULL PIPELINE CO LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)           17-17135
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1                                                                                                                                                       $2,523,035.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  $2,523,035.44          44
           Geauga County Treasurer                                   Check all that apply.
           211 Main St., Room 1A                                        Contingent
           Chardon, OH 44024-1257                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           prior to 2014                                             Personal Property Tax

           Last 4 digits of account number See                       Is the claim subject to offset?
           Attached Parcels                                             No
           Specify Code subsection of PRIORITY                          Yes
           unsecured claim: 11 U.S.C. § 507(a) (8)


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $648,384.17          $648,384.17
           Lake County Treasurer                                     Check all that apply.
                                                                        Contingent
           Administration Building                                      Unliquidated
           105 Main Street                                              Disputed
           Painesville, OH 44077
           Date or dates debt was incurred                           Basis for the claim:
           prior to 2014                                             Personal Property Tax

           Last 4 digits of account number See                       Is the claim subject to offset?
           Attached Parcels                                             No
           Specify Code subsection of PRIORITY                          Yes
           unsecured claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 4
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              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $51,230.00        $51,230.00
           Ohio Department of Taxation                               Check all that apply.
           Box 530                                                      Contingent
           Columbus, OH 43216-0530                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017                                                      Excise Taxes

           Last 4 digits of account number 2799                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $5,845.22    $0.00
           Pennsylvania Office of                                    Check all that apply.
           Unemployment Tax Services                                    Contingent
           153 E. 13th St., Suite 310                                   Unliquidated
           Erie, PA 16503-1035                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $111,991.61         $111,991.61
           Portage County Treasurer                                  Check all that apply.
           440 South Meridian Street                                    Contingent
           Box 1217                                                     Unliquidated
           Ravenna, OH 44266                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2017                                                      Personal Property Tax

           Last 4 digits of account number 0285                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $135.54
           AT & T                                                                      Contingent
           P O Box 5080                                                                Unliquidated
           Carol Stream, IL 60197-5080                                                 Disputed
           Date(s) debt was incurred 2017
                                                                                   Basis for the claim:     Utilities
           Last 4 digits of account number 0024
                                                                                   Is the claim subject to offset?      No      Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $78.37
           Big Oats                                                                    Contingent
           38700 Pelton Road                                                           Unliquidated
           Willoughby, OH 44094                                                        Disputed
           Date(s) debt was incurred 67274
                                                                                   Basis for the claim:     Affiliate
           Last 4 digits of account number 2017
                                                                                   Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 4
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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,466.15
          Cobra Pipeline Co                                                     Contingent
          3511 Lost Nation Rd. Suite 213                                        Unliquidated
          Willoughby, OH 44094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Affiliate
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,861.42
          CSX Transportation                                                    Contingent
          P O Box 116628                                                        Unliquidated
          Atlanta, GA 30368-6628                                                Disputed
          Date(s) debt was incurred 2017
                                                                                          BOL54357, BOL54986, BOL53991, BOL20292,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    BOL90292, BOL2844
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,570.07
          David Oil                                                             Contingent
          7001 Center Street                                                    Unliquidated
          Mentor, OH 44060                                                      Disputed
          Date(s) debt was incurred      2017                                Basis for the claim:    Affiliate
          Last 4 digits of account number       89CR
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $42,735.47
          First Insurance Funding                                               Contingent
          PO Box 7000                                                           Unliquidated
          Carol Stream, IL 60197-7000                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number       8599
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,013.47
          Holland Supply Co                                                     Contingent
          8225 Green Meadows Drive N                                            Unliquidated
          Lewis Center, OH 43035                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number 3317
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $61.44
          Illuminating Co Madison                                               Contingent
          P O Box 3687                                                          Unliquidated
          Akron, OH 44309-3687                                                  Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $48,478.45
          Kravitz Brown & Dortch LLC                                            Contingent
          65 East State Street, Suite 200                                       Unliquidated
          Columbus, OH 43215-4277                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4
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              Name

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $125.03
           Orwell-Gas                                                           Contingent
           P O Box 74008599                                                     Unliquidated
           Chicago, IL 60674-8599                                               Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Utilities
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $61,431.39
           Rockefeller Oil                                                      Contingent
           7001 Center Street                                                   Unliquidated
           Mentor, OH 44060                                                     Disputed
           Date(s) debt was incurred     2017                                Basis for the claim:    Utilities
           Last 4 digits of account number                                   Affiliate
                                                                             Is the claim subject to offset?       No     Yes

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,390.86
           Westfield Insurance                                                  Contingent
           P O Box 9001566                                                      Unliquidated
           Louisville, KY 40290-1566                                            Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Supplier
           Last 4 digits of account number      7568
                                                                             Is the claim subject to offset?       No     Yes

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $58.92
           Windstream                                                           Contingent
           P O Box 9001908                                                      Unliquidated
           Louisville, KY 40290-1908                                            Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Utilities
           Last 4 digits of account number      9498
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                     3,340,486.44
 5b. Total claims from Part 2                                                                            5b.   +    $                       200,406.58

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        3,540,893.02




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         ORWELL TRUMBULL PIPELINE CO LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)         17-17135
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

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 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)         17-17135
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Black Bear                        7954 Reynolds Road                                First National Bank of             D   2.1
             Realty                            Mentor, OH 44060                                  Pennsylvania                       E/F
                                                                                                                                    G




    2.2      Black Bear                        7001 Center Street                                First National Bank of             D   2.1
             Realty Ltd                        Mentor, OH 44060                                  Pennsylvania                       E/F
                                                                                                                                    G




    2.3      Chowder Gas                       3511 Lost Nation Rd. Suite 213                    First National Bank of             D   2.1
             Storage Facility                  Willoughby, OH 44094                              Pennsylvania                       E/F
             LLC
                                                                                                                                    G




    2.4      Hamilton                          7001 Center Street                                First National Bank of             D   2.1
             Partners Inc                      Mentor, OH 44060                                  Pennsylvania                       E/F
                                                                                                                                    G




    2.5      Heisley Hopkins,                  7001 Center Street                                First National Bank of             D   2.1
             Inc                               Mentor, OH 44060                                  Pennsylvania                       E/F
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Junior Properties                 7001 Center Street                             First National Bank of         D   2.1
             Ltd                               Mentor, OH 44060                               Pennsylvania                   E/F
                                                                                                                             G




    2.7      Lake Shore Gas                    3511 Lost Nation Road, Suite 213               First National Bank of         D   2.1
             Storage Inc                       Willoughby, OH 44094                           Pennsylvania                   E/F
                                                                                                                             G




    2.8      Richard M.                        7001 Center Street                             First National Bank of         D   2.1
             Osborne                           Mentor, OH 44060                               Pennsylvania                   E/F
                                                                                                                             G




Official Form 206H                                                        Schedule H: Your Codebtors                                Page 2 of 2
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 Debtor name         ORWELL TRUMBULL PIPELINE CO LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number (if known)         17-17135
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,278,604.00
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,109,306.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,132,190.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHMENT 1                                                                                    $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    SEE ATTACHMENT                                                                                      $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Orwell Trumbull Pipeline Co                      Contract                   Lake County Common                              Pending
               LLC v Orwell Natural Gas Co                                                 Pleas Court                                     On appeal
               16CV001776                                                                  P O Box 490
                                                                                                                                           Concluded
                                                                                           Painesville, OH 44077

       7.2.    Richard M. Osborne, et al v                                                 Court of Common Pleas                           Pending
               Gas Natural, Inc.                                                           Cuyahoga County, Ohio                           On appeal
               17CV877354
                                                                                                                                           Concluded




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               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.3.    Richard M. Osborne, et al. v                                                  Court of Common Pleas                        Pending
               Park View Federal Savings                                                     Cuyahoga County, Ohio                        On appeal
               Bank
                                                                                                                                          Concluded
               CV14822810

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                                Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss                Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    FORBES LAW LLC
                Main Street Law Building
                166 Main Street
                Painesville, OH 44077                                                                                          12/17                          $8,109.50

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor      ORWELL TRUMBULL PIPELINE CO LLC                                                             Case number (if known) 17-17135




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      ORWELL TRUMBULL PIPELINE CO LLC                                                            Case number (if known) 17-17135




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Carolyn Coatoam                                                                                                            2008 to present
                    3511 Lost Nation Rd #213
                    Willoughby, OH 44094
       26a.2.       Jessica Carothers                                                                                                          2008 to present
                    3511 Lost Nation Rd #213
                    Willoughby, OH 44094
       26a.3.       Jamie Sadler                                                                                                               2017 to present
                    3511 Lost Nation Rd #213
                    Willoughby, OH 44094

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Schumaker & Company, Inc                                                                                                   11/2016 to present
                    3101 Walnut Ridge
                    Ann Arbor, MI 48103

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

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              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard M Osborne                              7265 Markell Road                                   Managing Member                       85.93
                                                      Waite Hill, OH 44094

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       FCCC II Inc                                    1110 Euclid Ave #300                                Member                                14.07
                                                      Cleveland, OH 44115



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 SEE ATTACHMENT 2
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 29, 2017

 /s/ Richard M. Osborne                                                 Richard M. Osborne
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                                     Northern District of Ohio
 In re       ORWELL TRUMBULL PIPELINE CO LLC                                                                  Case No.      17-17135
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                           *
             Prior to the filing of this statement I have received                                        $                   8109.50
             Balance Due * See Application for Employment and Agreement filed separately                  $                           *

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions,
               preparation and costs of amendments to schedules or any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 13, 2017                                                         /s/ Glenn E. Forbes
     Date                                                                      Glenn E. Forbes 0005513
                                                                               Signature of Attorney
                                                                               FORBES LAW LLC
                                                                               166 Main Street
                                                                               Painesville, OH 44077
                                                                               440-357-6211
                                                                               bankruptcy@geflaw.net
                                                                               Name of law firm




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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Richard M. Osborne                                                                                                              85.3%
 8500 Station Street #113
 Mentor, OH 44060

 Steven Calabrese                                                                                                                14.7%
 FCCC, II LLC
 1110 Euclid Avenue Suite 300
 Cleveland, OH 44115


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date December 29, 2017                                                      Signature /s/ Richard M. Osborne
                                                                                            Richard M. Osborne

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       December 29, 2017                                        /s/ Richard M. Osborne
                                                                      Richard M. Osborne/Managing Member
                                                                      Signer/Title




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